           Case 2:04-cr-00366-WBS Document 52 Filed 10/13/05 Page 1 of 3


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     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     DANIEL WALLACE SMITH
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,          )   NO. CR.S. 04-0366-WBS
11                                      )
                      Plaintiff,        )
12                                      )   STIPULATION AND ORDER RE
                 v.                     )   CONTINUANCE OF STATUS HEARING AND
13                                      )   FINDINGS OF EXCLUDABLE TIME
     SHERYL DENISE DAVIS and DANIEL     )
14   WALLACE SMITH,                     )   DATE: November 23, 2005
                                        )   TIME: 9:00 a.m.
15                    Defendant.        )   JUDGE: Hon. William B. Shubb
                                        )
16   _______________________________
17             DANIEL WALLACE SMITH, by and through his counsel, DENNIS S.
18   WAKS, Supervising Assistant Federal Defender, defendant SHERYL DAVIS by
19   and through her counsel, C. EMMETT MAHLE, and the United States
20   Government, by and through its counsel, ROBIN R. TAYLOR, Assistant
21   United States Attorney, hereby agree that the status conference set for
22   October 19, 2005 be continued to November 23, 2005 at 9:00 a.m.       This
23   continuance is requested because the parties to this case have received
24   over 1200 pages of discovery which will require additional time to
25   review.    The defendants in this case consent to this continuance.
26             Accordingly, all counsel, along with Mr. Smith and Ms. Davis
27   agree that the time from October 19, 2005 through November 23, 2005
28   should be excluded in computing the time within which trial must
           Case 2:04-cr-00366-WBS Document 52 Filed 10/13/05 Page 2 of 3


1    commence under the Speedy Trial Act, §3161(h)(8)(B)(iv) and Local Code
2    T4. [reasonable time to prepare].
3    DATED: October 11, 2005
4                                     Respectfully submitted,
5                                     QUIN DENVIR
                                      Federal Defender
6
                                      /S/ Dennis S. Waks
7                                     ________________________________
                                      DENNIS S. WAKS
8                                     Supervising Assistant Federal Defender
                                      Attorney for Defendant
9                                     DANIEL WALLACE SMITH
10
     DATED: October 11, 2005
11
                                      /S/ Dennis S. Waks for
12
                                      EMMETT MAHLE, Esq.
13                                    Attorney for Defendant
                                      SHERYL DAVIS
14
15                                    McGREGOR SCOTT
                                      United States Attorney
16
     DATE: October 11, 2005
17                                    /S/ Dennis S. Waks for
                                      _______________________________
18                                    ROBIN R. TAYLOR
                                      Assistant United States Attorney
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             Case 2:04-cr-00366-WBS Document 52 Filed 10/13/05 Page 3 of 3


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5    Attorney for Defendant
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                          IN THE UNITED STATES DISTRICT COURT
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                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,            )   NO. CR.S. 04-0366-WBS
11                                        )
                       Plaintiff,         )
12                                        )   ORDER RE CONTINUANCE OF STATUS
                 v.                       )   HEARING AND FINDINGS OF
13                                        )   EXCLUDABLE TIME
     SHERYL DENISE DAVIS and DANIEL       )
14   WALLACE SMITH,                       )   DATE: November 23, 2005
                                          )   TIME: 9:00 a.m.
15                     Defendant.         )   JUDGE: Hon. William B. Shubb
                                          )
16   _______________________________
17                                ORDER AND FINDINGS
            The new status conference is set for November 23, 2005 at 9:00
18
     a.m.    The court finds that the interests of justice are best served and
19
     the public interest is protected by granting the continuance in the
20
     above-captioned matter.      Accordingly, time under the Speedy Trial Act
21
     is excluded from October 19, 2005, through November 23, 2005, in
22
     computing the time within which trial must commence under the Speedy
23
     Trial Act, pursuant to Title 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
24
     Code T4. (reasonable time to prepare.)
25
26
27
28
     DATED: October 11, 2005


                                              3
